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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
HUNTINGTON DIVISION
FRUTH INC. d/b/a FRUTH PHARMACY,

Plaintiff,

V. Civil Action No. 3:18-cv-01288
(Judge Chambers)
NEC NETWORKS, LLC d/b/a CAPTURERX,

Defendant.

AGREED ORDER REFERRING CLAIMS TO ARBITRATION AND
DISMISSING ACTION FOR LACK OF SUBJECT MATTER JURISDICTION
PURSUANT TO AGREEMENT TO ARBITRATE

On this day came the Plaintiff, Fruth Inc. d/b/a Fruth Pharmacy [“Fruth”], and the
Defendant, NEC Networks, LLC d/b/a CaptureRX [“CaptureRX’], by their respective counsel,
and jointly announced to the Court that Fruth does not oppose CaptureRx’s Motion to Compel
Arbitration and Motion to Dismiss for Lack of Subject Matter Jurisdiction. The parties thereupon
moved the Court for the entry of an order referring all claims asserted in the above captioned
civil action to arbitration to be conducted in the State of West Virginia pursuant to the Rules of
the American Arbitration Association. The parties further moved the Court for the entry of an
order dismissing the above captioned civil action for lack of subject matter jurisdiction pursuant
to the agreement to arbitrate all claims with such dismissal to be without prejudice as to the
merits of the claims to be pursued or advanced in arbitration.

It is, therefore, ORDERED that CaptureRX’s Motion to Compel Arbitration be and the
same is hereby GRANTED and all claims asserted in the above captioned civil action are
referred to arbitration to be conducted in the State of West Virginia and pursuant to the Rules of

the American Arbitration Association.
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It is further ORDERED that the above captioned civil action be dismissed for lack of
subject matter jurisdiction given the obligation and agreement of the parties to arbitrate all
claims asserted in this civil action with such dismissal to be without prejudice as to the merits of

the claims to be pursued or advanced in arbitration.

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Enter this_( (day of © 2018.

a.
Honorable Robert C. Chambers? District Judge

Presented by:

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